

Matter of Stampfl v Eisenpress (2024 NY Slip Op 00771)





Matter of Stampfl v Eisenpress


2024 NY Slip Op 00771


Decided on February 14, 2024


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 14, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

VALERIE BRATHWAITE NELSON, J.P.
PAUL WOOTEN
WILLIAM G. FORD
JANICE A. TAYLOR, JJ.


2023-06625	DECISION, ORDER &amp; JUDGMENT

[*1]In the Matter of Antonina Stampfl, petitioner,
vSherri L. Eisenpress, etc., respondent. Antonina Stampfl, New City, NY, petitioner pro se.


Letitia James, Attorney General, New York, NY (Shi-Shi Wang of counsel), for respondent.



Proceeding pursuant to CPLR article 78, inter alia, in effect, in the nature of mandamus to compel the respondent, Sherri L. Eisenpress, a Justice of the Supreme Court, Rockland County, to recuse herself from presiding over an action entitled Stampfl v Stampfl , commenced in that court under Index No. 30932/2017, and any future action involving the petitioner, and application by the petitioner for poor person relief.
ORDERED that the application for poor person relief is granted to the extent that the filing fee imposed by CPLR 8022(b) is waived, and the application is otherwise denied as academic; and it is further,
ADJUDGED that the petition is denied and the proceeding is dismissed on the merits, without costs or disbursements.
The extraordinary remedy of mandamus will lie only to compel the performance of a ministerial act, and only where there exists a clear legal right to the relief sought (see Matter of Legal Aid Socy. of Sullivan County v Scheinman , 53 NY2d 12, 16).  The petitioner has failed to demonstrate a clear legal right to the relief sought.
The petitioner's remaining contentions are without merit.
BRATHWAITE NELSON, J.P., WOOTEN, FORD and TAYLOR, JJ., concur.
ENTER:
Darrell M. Joseph
Acting Clerk of the Court








